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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

Soren Stevenson,                                                COURT MINUTES
                                                      BEFORE: Hon. Susan Richard Nelson,
                                                          United States District Judge
                            Plaintiff,
                                                   Case No.:           20-cv-2007 (SRN/TNL)
            v.                                     Date:               May 25, 2022
                                                   Court Reporter:     Carla Bebault
Benjamin M. Bauer, acting in his official capacity Location:           Courtroom 7B, St. Paul
as a Minneapolis Police Officer, et al.,           Time in Court:      9:28 – 10:34 a.m.

                            Defendants.           Total Time:          1 Hour, 6 Minutes

APPEARANCES:

      For Plaintiff:        Robert Bennett, Kathryn H. Bennett, and Marc Betinsky


      For Defendant:        Kristin Sarff, Sharda R. Enslin and Heather Passe Robertson

PROCEEDINGS:

      Motion hearing held on: MOTION for Attorney Fees and Costs Under 42 U.S.C. Section 1988
      filed by Soren Stevenson. [Doc. No. 83] The motion was submitted, argued, and taken under
      advisement.




                                                                                        s/S.DelMonte
                                                                                    Courtroom Deputy
